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                 THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF PENNSYLVANIA

WILLIAM DECKARD, SR.
1175 Temperance Lane
Richboro. PA. Plaintiff                       : CaseNo.2:17-cv-05182

            V.


ESTATE OF KATHLEEN EMORY,
STEVEN EMORY. EXECUTOR
c/o Thomas S. Harty, Esquire
325 Chestnut Street - Suite 1116
Philadelphia, PA 19106

and

STEVEN EMORY
c/o Thomas S. Harty. Esquire                           FILED
325 Chestnut Street - Suite 1116                       DEC 3 1 2018
Philadelphia. PA 19106                             KATE 8AR!\~~AN, Clerk
                                                  By            Oep. Clerk
and

CITIZENS BANK
One Citizens Plaza
Providence, Rhode Island 02903

and

WORLDPAY
600 Morgan Falls Road
Atlanta, GA 30350

and

PENN NATIONAL MUTUAL
CASUALTY INSURANCE COMPANY
P.O. Box 2361
2 North Second Street
Harrisburg, PA 17105-2361
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and

MICHAEL DANELLO, Agent
Penn National Mutual Casualty Insurance Co.
c/o Penn National Mutual Casualty Insurance
P.0 Box 2361
2 North Second Street
Harrisburg, PA 17105-2361

and

ACLAIM ADJUSTJvffiNT AGENCY INC
7820 Castor Avenue
Philadelphia, PA 19152-3616

and

GEORGE PAGANO, Agent
c/o Acclaim Adjustment Agency Inc
7820 Castor Avenue
Philadelphia, PA 19152-3616

and

DREW SALAMAN, ESQUIRE
650 Land Title Building
100 South Broad Street
Philadelphia, PA 19110

and

JANE'S and JOHN'S DOE 1 to 18
names and addresses unknown

and

Sole Proprietorship('s), Partnership('s ),
Corporation('s ), LLC('s ) and LLP('s) 1
through 15, names and addresses unknown,
Defendants.
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                            2nd AMENDED COMPLAINT

      COMES NOW, Plaintiff, William Deckard, Sr., who respectfully represents

to this Honorable Court the following:

                                NATURE OF ACTION

   1. This an is action for damages and injunctive relief brought by Plaintiff for

      violations of the Federal Racketeer Influenced and Corrupt Organizations Act, 18

      U.S.C. § 1961 et seq ("RICO") and applicable provisions of statutory and

      common law of the Commonwealth of Pennsylvania, inter alia.

                                         PARTIES

   2. Plaintiff, William Deckard, Sr., is an adult individual who currently resides at

      1175 Temperance Lane, Richboro, PA 18954.

   3. Defendant, Estate of Kathleen Emory (aka/Kathleen Deckard): Steven Emory,

      Executor, is successor entity to Kathleen Deckard Emory, an adult individual who

      passed away August 1, 2016 at age 63, and shall hereinafter be referred to as

      Kathleen Emory; last known address of Estate of Kathleen Emory/Kathleen

      Deckard was 1220 Temperance Lane, Richboro, PA 18954- it is believed, and

      therefore here averred, Executor Steven Emory accepts court related

      correspondence and service of documents through attorney Thomas S. Harty,

      Esquire at 325 Chestnut Street, Suite 1116, Philadelphia, PA 19106.

   4. Defendant Steven Emory is an adult individual whose last known address was

      1220 Temperance Lane, Richboro, Bucks County, PA; being one and the same
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   adult individual who accepts court related correspondence and service of

   documents through attorney Thomas S. Harty, Esquire at 325 Chestnut Street,

   Suite 1116, Philadelphia, PA 19106.

5. Steven Emory, Executor of Estate of Kathleen Emory (see Paragraph 3, supra),

   and Defendant Steven Emory, shall hereinafter be referred to as Steven Emory.

6. Defendant Citizens Bank is a business entity with office at One Citizens Plaza,

   Providence, RI 02903.

7. Defendant Worldpay is a business entity with office at 600 Morgan Falls Road,

   Atlanta, GA 30350.

8. Defendant Pennsylvania National Mutual Casualty Insurance Company and Penn

   National Security Insurance Company are business entities with a P.O.Box

   address at P.O. Box 2361, Harrisburg, PA 17105~2361 and shall hereinafter be

   referred to as Penn National.

9. Defendant Michael Danello is an adult individual and Agent of Defendant Penn

   National with a P.0.Box address at P.O. Box 2361, Harrisburg, PA 17105-2361.

1O.Defendant Aclaim Adjustment, Inc. is a business entity with address at 7820

   Castor Avenue, Philadelphia, PA 19152 and shall hereinafter be referred to as

   Aclaim.

I I.Defendant George Pagano is an adult individual and Agent of Defendant Aclaim

   with business address c/o Aclaim Adjustments Agency, Inc., 7820 Castor Ave.,

   Philadelphia, PA 19152.
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12.Defendant Drew Salaman, Esquire is a Pennsylvania attorney with office at 650

   Land Title Building, 100 South Broad Street, Philadelphia, PA 19110.

13.Defendant David Grunfeld, Esquire is a Pennsylvania Attorney with office at 200

   South Broad Street, Floor 6, Philadelphia, PA 19102-3 813.

14.Defendant Astor, Weiss, Kaplan & Mandel, LLP is a Pennsylvania law firm with

   office at 200 South Broad Street, Floor 6, Philadelphia, PA 19102-3813.

15.Defendant Adam Flager, Esquire is a Pennsylvania Attorney formerly with Astor,

   Weiss, Kaplan & Mandel, LLP (hereinafter Astor Weiss), with current business

   address 1210 Northbrook Drive, Suite 280, Trevose, PA 19053.

16.Defendant Linda Hee, Esquire is a Pennsylvania Attorney with office at 121 South

   Broad Street, Floor 20, Philadelphia, PA 19107.

17.Defendants Jane's and John's Doe 1 through l 8's identities and addresses are

   currently unknown to Plaintiff.

18.Defendant's Sole Proprietorship('s), Partnership('s), Corporation('s), LLP('s)

   and/or LLC('s) 1 through 15's identities and addresses are currently unknown to

   Plaintiff.

19.Defendant's Doe and Defendant business entities are as yet unknown individuals,

   companies, partnerships, associations and/or entities who, upon information and

   belief, may bear some liability for Plaintiffs losses; the true names of said entities

   or Doe's referenced, supra, are at present unknown to Plaintiff, as stated, and

   Plaintiff therefore here sues such Defendant by such fictitious name, and will
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   amend the within Complaint to alert the Court to said Defendant's identity and

   role to date as such knowledge becomes available.

                          JURISDICTION AND VENUE

20.Plaintiff asserts this Court has Jurisdiction over this matter on four (4) separate

   bases: violation(s) of (A) the Interstate Commerce Clause (Article 1, § 8, Clause

   3, U.S. Constitution); (B)/(C) the Mail and Wire Fraud Statutes (Title 18 U.S.C.A.

   §§ 1341 and 1343) and under the Federal RICO Act pursuant to 18 U.S.C. § 1961,

   et seq. The Court has supplemental jurisdiction over Plaintiffs state law claims

   pursuant to 28 U.S.C. § 1367(a) in that these claims arise out of same common

   core of operative facts and form part of the same case and controversy as the

   federal claims.

21. Venue is proper in this District pursuant to 28 U.S.C. § 139l(b) in that the conduct

   giving rise to this action occurred in this District, Defendants regularly conduct

   business in this District and a substantial part of the events and omissions giving

   rise to Plaintiffs claims occurred in this District.

                                  BACKGROUND

22.Paragraph's 1 - 21 are hereby incorporated by reference as if fully set forth at

   length herein.

23.PlaintiffWilliam Deckard, Sr. (DOB 9-1-1950) and Defendant Kathleen

   (Deckard) Emory (DOB 10-1-1952, DOD 8-1-2016) were brother and sister, born

   of parents Jesse and Gloria Deckard (Gloria Deckard: DOB 1-17-1927; DOD 12-
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   15-2012).

24.From the 1950's Jesse Deckard owned Jesse Deckard Overhead Doors, a

   commercial garage door business operated from the family home at 10320

   Haldeman Avenue, Philadelphia, PA 19116; the home's garage was the business'

   shop and from a home office, Mrs. Gloria Deckard maintained the business'

   accounts as the business' Bookkeeper.

25.ln 1964, by tenants by the entireties, Jesse and Gloria Deckard purchased a V4 acre

   vacant lot at U.S. Postal Service mailing address 9911 Northeast Avenue,

   Philadelphia, PA 19115.

26.From the property's purchase through Spring, 1966, Plaintiff and his father, Jesse

   Deckard, worked weekends, and after school (Plaintiff in 9th and 10th grades -

   Fall, 1964-Spring, 1966), and together built the lone 2,800 square foot rectangular

   warehouse type structure today located at 9911 Northeast Avenue, Philadelphia,

   PA 19115.

27.From Spring, 1966 Jesse Deckard operated Jesse Deckard Overhead Doors from

   9911 Northeast Avenue; renaming the business Jesse Deckard & Son Overhead

   Doors in 1968 after Plaintiff graduated high school and began working full-time

   with his Father.

28.Jesse Deckard, passed away suddenly in August, 1974, leaving behind his wife,

   Gloria Deckard, and the couple's two adult children: Plaintiff, William Deckard,

   Sr. (aged 23), and Plaintiffs younger sister, Defendant Kathleen (Deckard) Emory
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   (aged 21 ); Plaintiff's young wife, Robin, was about to give birth, and did so

   September 1, 1974 - Jesse Deckard never meeting his first grandson, William

   Deckard, Jr.

29. With his Mother continuing in role as Bookkeeper with home office at 10320

   Haldeman Avenue, Philadelphia, PA 19115, Plaintiff successfully continued to

   operate the commercial overhead door business - Jesse Deckard & Son Overhead

   Doors - and its successor entity, Deckard Doors, until 2010.

30.Weeks after Jesse Deckard's death, 21 year old Kathleen Deckard (Emory),

   believing herself capable of becoming an actress, though never having sought

   formal acting training or experience, suddenly moved to California to pursue an

   acting career in Los Angeles - upon information and belief, Plaintiff here avers all

   Kathleen (Deckard) Emory's expenses in California, from 1974 through the late

   l 980's, were secretly paid by Gloria Deckard from, immediately, assets of Jesse

   Deckard & Son Overhead Doors, then from assets of Deckard Doors and Beer

   Hut. (Please see Paragraph's 33, et seq., infra).

31.ln 1975, having been grieving the sudden loss of her husband in 1974, nearly

   immediately followed by the additionally sudden and stark absence of her needy,

   stubborn and headstrong daughter, Gloria Deckard outwardly exhibited to

   Plaintiff, and close relations, many of the text book signs of acute depression; said

   depression continuing implacably toward the approaching Summer of 1975.

32. In attempt to ease and cure his Mother's alarmingly increasing despondency,
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   Plaintiff, now a young businessman and new father operating his and his own

   Father's business, Jesse Deckard & Son Overhead Doors, but no longer benefiting

   from his Father's business knowledge and experience, conceived idea of how to

   distract his Mother from her recent losses, and energize her, by the starting of an

   additional, new and exciting retail business partnership among Mother and son.

33.Then 24 year old Plaintiff actually conceived two significant ideas

   contemporaneously, the first enabling the second- the first idea was to alter the

   historic practice of warehousing overhead doors by, instead of warehousing doors,

   having all doors delivered directly to job sites just prior to the job

   start/installation; the second idea was making more efficient use of the warehouse

   at 9911 Northeast Avenue-the Jesse Deckard & Son Overhead Doors warehouse

   - by ceasing overhead doors operation from the warehouse and reconfiguring the

   building and opening and operating a Pennsylvania Beer Distributorship there.

34.ln late Spring, 1975, Plaintiff altered Jesse Deckard & Son Overhead Doors

   practice ofwarehousing overhead doors and storing tools/hardware at the 9911

   Northeast Avenue building - the Overhead Doors business effectively vacating the

   building.

35.Plaintiff relocated all hardware and tools not traveling daily on the Jesse Deckard

   & Son Overhead Doors Super-Duty pickup truck to the family property's garage at

   10320 Haldeman Avenue.

36.Plaintiff commenced sequestering investment funds for the new business start -
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   the retail beer store - and preparing the 9911 Northeast Avenue building for

   renovation.

37.ln 1976, using $14,800 ofthe now 25 year old young father/Plaintiffs personal

   funds, Plaintiff purchased a Pennsylvania Liquor Control Board (PLCB) Beer

   Distributorship License, registering it in name of his Mother, Gloria Deckard.

38.Further, and continuing at Plaintiffs expense, Plaintiff arranged for an attorney to

   guide his Mother to:

      (A) register a Fictitious Name (d/b/a - doing business as) in name Beer Hut;

      (B) purchase and secure a Philadelphia Commercial Business License for Beer

      Hut; and

      (C) file all Federal and Commonwealth of Pennsylvania documents gaining an

      EIN (Employee Identification Number) for the business Beer Hut.

39. While operating Deckard Doors by day from 1975 to 1978, in spare time and

   weekends, and at his own expense, Plaintiff commenced renovating the structure

   at 9911 Northeast Avenue into a facility capable of operating a Pennsylvania beer

   distributorship.

40. At his own expense, Plaintiff personally performed the construction work and all

   renovations - e.g., the purchase and installation of all equipment, refrigeration,

   shelving system(s), fork lift, office equipment, etc., to convert the 9911 Northeast

   Avenue property into the Beer Hut beer store.

41.ln May, 1978 Plaintiff purchased approximately $20,000 in beer, soda, snacks,
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   and cigarettes, inter alia, opening Beer Hut at 9911 Northeast Avenue,

   Philadelphia, PA in silent partnership with his Mother, Gloria Deckard; Gloria

   Deckard performing Beer Hut bookkeeping/tax filings, at and from her home

   office - 10320 Haldeman Avenue, Philadelphia, PA; Gloria Deckard being the

   silent partner/sole proprietor for tax filing purposes and owner of record of the

   PLCB Beer Distributorship License, with Plaintiff being the "Public Face" of

   Beer Hut - as well as the (A) business' Financier, (B) Manager, (C) Operator, (D)

   Inventory Purchaser and Stocker and (E) building Maintenance Man.

42.Plaintiff and his Mother, Gloria Deckard, then, successfully and lawfully ran their

   Beer Hut silent partnership through November, 2012, all cash and credit receipts

   delivered each evening to Beer Hut Bookkeeper Gloria Deckard's 10320

   Haldeman Avenue home office by Beer Hut employees; records, bookkeeping and

   tax filings, performed there, Gloria Deckard routinely traveling to Citizens Bank

   to make cash deposits, inter alia.

43.At some point in the later 1980's, though then a "card carrying" member of the

   Screen Actors Guild (SAG), Defendant Kathleen (Deckard) Emory, having failed

   to secure any regular acting (SAG type) employment, left California and returned

   to her Mother's 10320 Haldeman Avenue, Philadelphia home; marrying Steven

   Emory at some later date.

44.Since returning from California in the l 980's, Defendant Kathleen Emory

   regularly announced to family members two (2) things: (A) that she accompanied
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   her elderly Mother - Gloria Deckard - to all doctor's/hospital appointments and

   (B) that she, Kathleen Emory, could identically sign her Mother's name, i.e.,

   perfectly, or near perfectly, imitate her Mother's signature.

45.0n December 4th, 2012, at age of 85, Mrs. Gloria Deckard, became incapacitated

   in coma; at her hospital bedside that date Plaintiff learned for the first time that

   Gloria Deckard had been suffering from cancer diagnosed in 2007, and later that

   day that the Beer Hut dedicated PA Lottery Citizen Bank account was

   OVERDRAWN by $3,200 (N.B.: withdrawals from this account are to be done

   solely by agents of the PA Lottery (Please see Paragraph 46 (D), infra)).

46.0n December 4, 2012, inter alia, Defendant Kathleen Emory astonished Plaintiff,

   and other relatives present, by asserting/offering:

      (A) that, although Kathleen Emory accompanied her now 85 year old Mother,

      Gloria Deckard, to every medical/hospital appointment since the 1980's,

      Kathleen Emory did not know her Mother, Gloria Deckard, had been battling

      cancer since 2007;

      (B) that Kathleen Emory was intimately aware of Beer Hut finances and

      activities and balances of Beer Hut bank accounts - stunning Beer Hut silent

      partner/Plaintiff who until that moment believed Beer Hut finances had been

      confidentially maintained solely by Plaintiff's now comatose Beer Hut partner

      and Bookkeeper/Mother, Gloria Deckard;

      (C) that even though Beer Hut sales for November 1 through 30, 2012
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      exceeded $100,000, Kathleen Emory stated Beer Hut bank accounts had

      insufficient funds for the routine December, 2012 monthly Beer Hut beer and

      soda inventory order purchase(s); and

      (D) that although Defendant, Kathleen Emory announced for the first time to

      Plaintiff and family December 4th, 2012, that she, Kathleen Emory, was

      intimately aware of all activities and balances of the three (3) Citizens Bank

      Gloria Deckard Beer Hut bank accounts, Kathleen Emory also claimed she

      was unaware of $3,200 inexplicably missing that date from the Beer Hut PA

      Lottery dedicated bank account - a bank account dedicated for withdrawals

      solely by PA Lottery Commission (Upon performance of an accounting of the

      Beer Hut Citizens Bank dedicated PA Lottery Account - a much needed

      accounting having been Court Ordered on a number of occasions by the

      Commonwealth of Pennsylvania Orphan's Court for the County of

      Philadelphia, but to date, having not yet been performed - Plaintiff assures

      counsel and the Court multiple unlawful withdrawals from said account by

      Defendants' Emorys will be revealed).

47.At 62 years old shortly after December 4th, 2012, and 34 years as Beer Hut Silent

   Partner and Financier, Plaintiff performed his first ever Beer Hut banking visits

   that month after directing the $3,500 of his personal funds be deposited by Beer

   Hut employee Loretta Kelly (Gloria Deckard's sister) that date (12-4-2012) to

   cover the shortfall in Gloria Deckard's Citizen Bank Beer Hut dedicated PA
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   Lottery Account.

48.Learning, at that $3,500 Bank Deposit, of Gloria Deckard's incapacity from Mrs.

   Deckard's sister Loretta Kelly, Citizen's Bank Manager Lisa Talley directed that

   Plaintiff open new Beer Hut bank accounts and obtain a new Beer Hut EIN in

   Plaintiffs name.

49.Plaintiff, in consultation with, and approval of, Defendants Emory, did as Citizen

   Bank manager Lisa Talley directed, opening two (2) new Citizen Bank accounts

   with his/Plaintiffs newly obtained EIN in name The Beer Hut, on December 10

   and 13, 2012 (Exhibits A-1 (Exhibit 25 on DVD)) making Defendant Kathleen

   Emory a signor on the accounts.

SO.Plaintiff contemporaneously alerted Defendant Worldpay of the new Citizen Bank

   The Beer Hut account for receiving Worldpay wire-direct deposits of credit and

   debit card retail Beer Hut purchases; and Defendant Worldpay did, appropriately,

   redirect said deposits from the Beer Hut Gloria Deckard EIN Citizen Bank

   account to the The Beer Hut William Deckard, Sr. EIN Citizen Bank account.

51.Gloria Deckard passed away December 15, 2012.

52.In a Will document submitted to the Philadelphia Recorder of Wills, Plaintiff is

   named as a 50% Beneficiary to the Residual Estate of Estate of Gloria Deckard,

   Plaintiffs Mother; Defendant Kathleen Emory is named Executrix.

            ALLEGATIONS RELATING TO DEFENDANT EMORYS'
                TITLE 18 CHAPTER 96 §§ 1961-1968 ET SEQ.
           RICO RACKETEERING ACTIVITIES AND CONSPIRACY
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53.Paragraph's 1 - 52 are hereby incorporated by reference as if fully set forth at

   length herein.

54. The following allegations are made upon Plaintiff's information and belief.

55.0n December 29, 2012, Defendant Citizen Bank permitted putative Executrix to

   the Estate of Gloria Deckard, Defendant Kathleen Emory, to improperly open a

   Citizen Bank Estate Account without a lawfully registered Estate EIN (or routine

   presentation of IRS Form SS-4-2010 (Application for employer identification

   number) or Form 56-2011 (Notice concerning fiduciary relationship) (Exhibits A-

   4)).

56.Defendant Citizen Bank permitted Kathleen Emory to use and improperly register

   Decedent Gloria Deckard's EIN for the business Beer Hut as EIN for the Estate of

   Gloria Deckard, a newly opened Estate Citizens Bank account for use by

   Executrix.

57. In the months after the passing of Gloria Deckard, just shy of her 86th birthday, it

   was learned that Kathleen Emory had been covertly earning $300/week from 2010

   to 2012 - on Beer Hut's payroll - without the knowledge of Plaintiff/silent partner

   and Beer Hut Manager/Financier, William Deckard, Sr.

58.From 2012, Defendant Kathleen Emory's blatant conduct of withdrawing

   thousands of dollars from Beer Hut and Gloria Deckard personal accounts, and

   never accounting for said funds, suggested Defendants Emory had been

   manipulating Gloria Deckard for years (Exhibit A-2 (Exhibit 16 on DVD)).
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59.ln 2015, documents produced in the Philadelphia Orphan's Court (180 DE of2013

   - In Re: Estate of Gloria Deckard) by Defendants Emory revealed, since at least

   2009, Steven Emory had been performing Beer Hut accounting: preparing then

   82 year old Gloria Deckard's tax forms and filings for the IRS and the

   Pennsylvania and Philadelphia Departments of Revenue; it appearing Emorys had

   unlimited access to Beer Hut and Gloria Deckard personal investments' records

   from at least 2009 (Please see Gloria Deckard IRS Schedules "C" for 2009, 2010,

   2011 and 2012 attached hereto (Exhibits A-3 (Exhibits 5, 6, 7 & 8 on DVD)).

60. Upon information and belief, gleaned from Emorys statements, acts, and

   documents revealed/obtained from December 4th, 2012 (including 2015

   documents referenced in paragraph 59, supra), Plaintiff has come to believe, and

   here asserts, that since at least 2009, through the unique mother-daughter access

   granted Defendant Kathleen Emory of her Mother by birth, that the Emorys,

   collectively, had been unduly influencing, and exploiting, Gloria Deckard, by

   gaining access to, and looting, Gloria Deckard's numerous personal investment

   accounts, and assets of the business known as Beer Hut; an activity, to wit -

   exploiting - expressly prohibited by the Act of the United States Congress - The

   Older Americans Act of 1965 (Amended Through P.L. 114-144, Enacted April

   19, 2016).

61. Plaintiff believes and here asserts this exploitation of Gloria Deckard, inter alia,

   enabled the Emory's, from at least 2009 to:
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      (A) daily steal, from physical possession of then 81 year old Gloria Deckard,

      Beer Hut cash receipts delivered daily to Gloria Deckard's home (totaling in

      the tens of thousands of dollars per year);

      (B) cause Gloria Deckard to sign, or forge Gloria Deckard's signature on,

      financial documents, e.g., and including, real estate deeds and Gloria Deckard

      (personal) and Beer Hut bank checking account checks, deposit slips,

      withdrawal slips, and documents relating to multiple Gloria Deckard personal

      investment accounts (e.g. deposit, withdrawal, liquidation documents, etc.).

62. To the best of any related party's knowledge, information and belief, at no time

   did Defendants Kathleen Emory or Steven Emory have employment or evince

   visible means of support; four (4) putative businesses claimed at different times

   by Defendant Steven Emory- Emory Digital Marketing, Network Direct,

   Campbell Campaigns, Emory & Associates - upon good faith investigation by

   Plaintiff since 2016, appear to perform no work and generate no income.

   (Defendant's Steven Emory and Kathleen Emory hereinafter referred to as "the

   Emorys" or "Emorys" or "Defendants Emory").

                                     ENTERPRISE

63.Paragraph's 1 - 62 are hereby incorporated by reference as if fully set forth at

   length herein.

64.Plaintiff is a "person" within the meaning of 18 US.C. § l 964(c).

65.At all times relevant hereto, Plaintiff and Defendants were and are "persons"
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   within the meaning of 18 U.S.C. § 1961(3).

66. Plaintiff asserts evidence obtained after December 4th, 2012 revealed that Emorys

   conduct - the Enterprise - since at least 2009 through 2016 and 2018 (as relates to

   Defendant's Kathleen Emory (2016) and Steven Emory (to date (2018)),

   respectively (Kathleen Emory Date of Death (DOD) 8-1-2016)) relating to (A) the

   Enterprise' direction, management and control over Gloria Deckard's personal

   investment accounts and Beer Hut's business affairs, records and assets while

   Gloria Deckard lived (through 12-15-2012 (Gloria Deckard DOD)), to the (B)

   2012 to 2015 Enterprise' (Defendants Emory) control of the Estate of Gloria

   Deckard by putative Executrix Defendant Kathleen Emory, under direction,

   guidance and influence of Defendant Steven Emory, to (C) the Enterprise

   manipulation of the impact(s) of action and/or inaction by the Philadelphia

   County Orphan's Court in relation thereto ( 180 DE of 2013 - In Re: Estate of

   Gloria Deckard) and actions by Enterprisees, Defendants Kathleen and Steven

   Emory, relating to a 2011 Tornado Damage to Real Estate Insurance Claim:

   structural damage to warehouse - Beer Hut building - at 9911 Northeast Avenue,

   owned by Plaintiff - NOT an asset of Estate of Gloria Deckard - all of said

   conduct constitute an Enterprise as defined by 18 U.S.C. § 1961(4).

67.The Enterprise is an organization which engages in, and whose activities affect,

   interstate commerce - in this case Pennsylvania resident Beer Hut's five (5)

   decades of bulk purchases from Pennsauken, New Jersey soft drink distribution
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   center(s), and Emorys -the Enterprise' -2009 to 2015 liquidation of Gloria

   Deckard's numerous investment accounts, annuities, insurance policies and other

   assets that reside, and had resided until their unlawful liquidation by the

   Enterprise (Defendants Emory), in a number of different states.

68. Defendants maintain an interest in and control the Enterprise and also conduct or

   participate in the conduct of the Enterprise's affairs through a pattern of

   racketeering, to wit, mail and wire fraud, inter alia.

69.Defendants' control and participation in the Enterprise is necessary for the

   successful operation of Defendants' scheme.

70.In order to retain (A) money assets or proceeds from liquidation of Gloria

   Deckard personal investments, annuities, insurance policies, etc., (B) money

   assets of the business Beer Hut while Gloria Deckard lived (DOD 12-15-2012),

   (C) money assets of the business Beer Hut after Gloria Deckard passes, (D) assets

   due Plaintiff as Beneficiary to Estate of Gloria Deckard, (E) assets due Plaintiff as

   successor owner of Beer Hut after passing of Gloria Deckard (having been silent

   partner to Gloria Deckard since Plaintiff purchased Beer Hut PLCB License -

   placing it in his Mother's, Gloria Deckard's, name - and obtained d/b/a/ name for

   Beer Hut in 1976, inter alia, and opened said business in 1978) and (F) assets due

   Plaintiff as owner of non-probate Real Property - the building at 9911 Northeast

   Avenue and insurance claim made for tornado damages to same - Defendants

   Emorys' Enterprise devised a system.
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71.This Enterprise' "system", devised by the Emorys, enabled Emorys to (A)

   manipulate and exercise control over and exploit Gloria Deckard and Gloria

   Deckard's personal investment assets while Gloria Deckard lived, from at least

   2009 through December, 2012; while also during this 2009 to 2012 time period

   enabling Defendants' Emory to (B) manipulate and exert control over Gloria

   Deckard's de facto self-employment as Bookkeeper to the business Beer Hut,

   enabling Defendants Emory to turn the, for thirty (30) years, lawfully

   operated business, Beer Hut, into Defendants' Emory personal embezzlement

   "cash cow", through Defendant Steven Emory's manipulation of the Beer Hut

   "Books" to under-report to taxing authorities from at least 2009 to 2015 Beer Hut

   sales permitting Emorys to "skim", or divert, said excess of "under-reported"

   sales receipts, in excess of tens of thousands of dollars per year, into venues

   and/or bank accounts under the Emorys' control.

72. Upon passing of Gloria Deckard, through presentation of a highly suspect Will

   instrument to the Philadelphia County Recorder of Wills, wherein said document

   Defendant Kathleen Emory is recorded as Executrix, Defendants' Emorys'

   Enterprise continued the looting of the personal investment assets of, now, the

   Estate of Gloria Deckard, as well as commencing a startling, outrageous,

   mendacious and disingenuous, disinformation campaign in February of 2013, that

   continues to date, regarding (A) the true genesis of the conception, start-up and 34

   year operation of Beer Hut, and (B) immediate prior 12 months history and status
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   of Gloria Deckard's numerous personal investments, in the Orphan's Court of

   Philadelphia County, Pennsylvanina (180 DE of2013 - In Re: Estate of Gloria

   Deckard), wherein a significant diminution in value of said Estate has occurred,

   along with destruction (frozen then broken heater piping causing 250,000 gallons

   of Philadelphia Water Department water to flow through locked facility) of

   Plaintiffs non-probate asset - the Beer Hut facility at 9911 Northeast Avenue, the

   Beer Hut good name, inventory, clientele, business volume, inter a/ia.

73.Defendants' Emory, collectively, are members of the Enterprise.

74.As a result of Defendants' fraudulent schemes and racketeering activities Plaintiff

   has been injured (A) in his business (Beer Hut), (B) in the unsettled by Plaintiff

   insurance claim dollars for the 2011 tornado damage to 9911 Northeast Avenue

   and (C) the near total, if not total, depletion in value of Plaintiffs 50% ownership

   of the residual interest of Beneficiary to the Estate of Gloria Deckard, if ever there

   is a finding that the Will document presented by Defendant Kathleen Emory is a

   valid instrument, inter alia.

                               PREDICATE ACTS

75.Paragraph's 1 - 74 are hereby incorporated by reference as if fully set forth at

   length herein.

76. With respect to the activities alleged herein, each Defendant, and others not

   named as defendants in this Complaint, in committing those activities within the

   meaning of 18 U.S.C. § 2, have sought to aid and abet a scheme to violate 18
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   U.S.C. § l 962(c), to wit, each Defendant also agreed to the operation of the

   scheme or artifice to deprive Plaintiff, and Estate of Gloria Deckard (to which

   Plaintiff is 50% residual heir), of property interests; in furtherance of these

   agreements, each Defendant also agreed with each other, either directly or

   indirectly, to interfere with, obstruct, delay or affect commerce by attempting.to

   obtain, and/or actually obtaining, property interests of Plaintiff and the Estate to

   which Defendants are/were not entitled.

77. With respect to the overt acts and activities alleged herein, each Defendant

   conspired with each other, and others not named as Defendants in this Complaint,

   to violate 18 U .S.C. § 1962(c ), in violation of 18 U.S.C. § 1962(d).

78. Each defendant also agreed and conspired with each other to participate, directly

   or indirectly, in the fraudulent scheme or artifice, in/of interfering with,

   obstructing, delaying or affecting commerce by attempting to obtain, and/or

   actually obtaining, property interest(s) of Plaintiff and the Estate to which

   Defendants are/were not entitled.

79. The numerous predicate acts of mail and wire fraud described herein are part of

   separate fraudulent schemes by Defendants designed to defraud Plaintiff, and the

   Estate, of money and property interest under false pretense; Plaintiff is victim of

   these unlawful patterns of illegal activity and has suffered losses as a result of

   these activities .

80. In cariying out the overt acts and fraudulent schemes described above, Defendants
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   engaged in conduct in violation of federal laws, including 18 U.S.C. § 1341 and§

   1343, 18 U.S.C. § 1341 and§ 1346 and 18 U.S.C. § 1343 and 1346.

81. Section 1961(1) of RICO provides that "racketeering activity" is an act and

   indictable under any of the following provisions of title 18 U.S.C. § 1341 (relating

   to mail fraud),§ 1343 (relating to wire fraud)§ 1346 (relating to scheme or

   artifice to defraud).

                VIOLATIONS OF 18 U.S.C. §§ 1341 AND 1343

82.Paragraph's 1 - 81 are hereby incorporated by reference as if fully set forth at

   length herein.

83.For the purpose of executing and/or attempting to execute their scheme to defraud

   and to obtain money by means of false pretenses, embezzlement and theft, inter

   alia, Defendants, in violation of 18 U.S.C. § 1341, placed, inter alia, in post

   offices, and/or in authorized repositories for mail and things to be sent or

   delivered by the United States Postal Service, and received matters and things

   therefrom, including but not limited to IRS tax notices, Forms 1099, 1040 and W-

   2; specific examples though not limited solely thereto, of the means by which

   documents containing false data were transmitted through the U.S. Postal Service

   include (A) tax filings Defendants caused to be filed with the IRS,

   Commonwealth of Pennsylvania's and Philadelphia's departments of tax revenue,

  on exploited octogenarian Gloria Deckard's behalf, to hide Defendants - the

   Enterprise' - embezzlement and theft of Gloria Deckard's assets, was on Forms'
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   1040 (and their appurtenant Schedules C) for 2009, 2010 and 2011 filed with IRS

   and revenue forms filed with Pennsylvania and Philadelphia, in 2010, 2011 and

   2012, and (B) all correspondence by, between and among, Defendants Emory,

   Penn National, Michael Danello, Aclaim and George Pagano, said correspondence

   occurring from 2011 through 2016, relating to a near $1 Million tornado property

   damage claim, and a $404,000 "settlement" - unauthorized by Plaintiff - for said

   2011 insurance claim by Plaintiff, for damages done to the building and real

   property Plaintiff owns at 9911 Northeast Avenue, Philadelphia, 19115 - both

   Parts (A) and (B) herein, referencing two (2) distinct instances of "racketeering

   activity" by the Enterprise - Defendants' Emory (within a 10 year period), in

   violation of 18 U.S.C. § 1341, these are (A) Defendants', the Enterprise's, use of

   mail, over at least the identified four (4) specific years, to provide the IRS,

   Pennsylvania and Philadelphia with bogus Tax returns filed on behalf of Gloria

   Deckard, and (B) a real property insurance damage claim settlement -

   unauthorized by Plaintiff, the owner of the real property- to be processed, are

   examples, though not limited solely thereto, of the means by which false

   representations to unlawfully gain Defendants - the Enterprise - assets to which

   they were/are not entitled, inter alia, were routinely used by Defendants - the

   Enterprise- in Violation of 18 U.S.C. § 1341.

84.For the purposes of executing and/or attempting to execute their scheme to

   defraud and to obtain money by means of false pretenses, false representations or
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   promises, Defendants, in violation of 18 U.S.C. § 1343, transmitted and received

   by wire matter and things therefrom, including but not limited to voice

   information over the telephone, texts, e-correspondence and Faxes.

85.ln those matters and things sent or delivered by the United States Postal Service,

   by wire and through other interstate electronic media, Defendants falsely and

   fraudulently misrepresented and fraudulently suppressed material facts in

   violation of 18 U.S.C. § 1341 and§ 1343 including but not limited to the

   following:

      -   grossly under reported Beer Hut gross retail sales and profit data for 2009,

          2010, 2011 and 2012 as said data was to be yearly reported to IRS and the

          revenue departments of the Commonwealth of Pennsylvania and the City of

          Philadelphia for revenue and taxing purposes; and grossly under-stated

          tornado damages data and costs for repairs as well as withheld Plaintiffs

          name as owner of the real property at 9911 Northeast Ave., Phila., PA

          19115.

                   PATTERN OF RACKETEERING ACTIVITY

86.Paragraph's 1 - 85 are hereby incorporated by reference as if fully set forth at

   length herein.

87.As set forth above, Defendants, have engaged in a "pattern of racketeering"

   activity as defined by§ 1961(5) of RICO by committing and/or conspiring to or

   aiding and abetting a scheme for at least two such acts of racketeering activity, as
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   described above, within the past 10 years; each such act of racketeering activity

   was related, had similar purposes - illicitly gaining the Enterprise funds to which

   it was not entitled - involved the same or similar participants and methods of

   commission, and had similar results impacting upon similar victims, including

   Plaintiff, and Estate of Gloria Deckard.

88.The multiple acts of racketeering activity committed and/or conspired to or aided

   and abetted by Defendants, as described above, are related to each other, depict a

   significant period of continuous racketeering conduct continuing to date and

   amount to and pose a threat of continued racketeering activity and therefore

   constitute a pattern of racketeering activity as defined in 18 U.S.C. § 1961(5).

                                      COUNTl

                         Violations of 18 U.S.C. § 1962(c)

89.Paragraph's 1 - 88 are hereby re-alleged, and incorporated by reference, as if fully

   set forth at length herein.

90.The claim for relief arises under 18 U.S.C. § 1964(a) of RICO and seeks relief

   from Defendants' activities described herein for violations of 18 U.S.C. § 1962(c ).

91. 18 U.S.C. § 1962(c) of RICO provides that it "shall be unlawful for any person

   employed by or associated with any enterprise engaged in, or the activities of

   which affect, interstate commerce, to conduct or participate, directly or indirectly,

   in the conduct of such enterprise's affairs through a pattern of activity or

   collection of an unlawful debt."
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92.Plaintiff incorporates, as if fully set forth at length herein, the allegations that

   Defendants have engaged in a pattern of racketeering activity.

93. Through the pattern of racketeering activities outlined above, Defendants have

   conducted and participated in the affairs of the Enterprise described above.

94. With respect to their violations of§ 1962(c) Defendants have acted at all times

   with malice toward Plaintiff.

   WHEREFORE, Plaintiff, William Deckard, Sr., respectfully requests judgment

   in his favor against Defndants Steven Emory and the Estate of Kathleen Emory in

   an amount of not less than $50,000 including interest, delay damages, counsel

   fees and other costs this Court deems appropriate.

                                      COUNT II

        Violations of 18 USC 1962(d) by Conspirin2 to Violate§ 1962(c)

95.Paragraph's 1 - 94 are hereby incorporated by reference as if fully set forth at

   length herein.

96.This claim for relief arises under 18 U.S.C. § 1964(a) of RICO and seeks relief

   from Defendants' activities described here in for violations of 18 U.S.C. § l 962(d)

   for their conspiring to violate 18 U .S.C. § 1962(c ).

97.Section 1962(d) of RICO provides that it "shall be unlawful for any person to

   conspire to violate any of the provisions of subsection (a), (b) or (c) of this

   section."

98. Plaintiff incorporates, as if fully set forth at length herein, the allegations that
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   Defendants have engaged in a pattern of racketeering activity.

99.Absent Defendants' conspiracy and joint efforts, Defendants' scheme would not be

   successful.

100.      Defendants have violated§ 1962(d) by conspiring to violate 18 U.S.C. §

   1962(c ), the object of this conspiracy has been and is to conduct or participate in,

   directly or indirectly, the conduct of the affairs of the § 1962(c) Enterprise,

   described previously, through a pattern of racketeering activities.

101.      As demonstrated in detail above, Defendants have engaged in numerous

   overt and predicate fraudulent racketeering acts in furtherance of the conspiracy

   including systemic fraudulent practices designed to defraud Plaintiff of money

   and other property interests.

102.      Defendants pattern of fraudulent racketeering acts, stretching from at least

   2009 through 2015, includes using the U.S. Postal Service, and electronic wire

   information transmission services, to transmit and cause to be filed false and

   fraudulent data/tax filings that grossly under report monies due taxing authorities

  (IRS, Pennsylvania and Philadelphia Departments of Revenue) to hide a multi-

  year scheme of theft and embezzlement by Defendants and the RICO Enterprise

  herein identified.

103.     As well, Defendants' pattern of fraudulent racketeering acts includes all

  correspondence and negotiations that resulted in generation of over $200,000 in

  proceeds from, putatively, an insurance claim on real property owned by Plaintiff
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   that was neither authorized by Plaintiff nor did such "settlement" involve Plaintiff

   in any fashion, though at all times Plaintiff was owner of record of the insured real

   estate - and although Plaintiff is the owner of the real property, and owner of any

   and all proceeds from the 2011 tornado damage insurance claim, Plaintiff has

  received $0.00 of said insurance proceeds (said "proceeds" from the "settlement''

   discussed herein, however unauthorized by Plaintiff, is Plaintiffs possession, yet

   said proceeds are in possession of a Philadelphia Orphan's Court Special Master

   in charge of Estate of Gloria Deckard - said Special Master having jurisdiction

   over Estate assets; insurance proceeds from Plaintiffs real property is NOT an

  asset of Plaintiff's late Mother's Estate).

104.      The nature of the above described acts, material misrepresentations and

   omissions in furtherance of the conspiracy, gives rise to an inference that

  Defendant's not only agreed to the objective of an 18 U.S.C. § 1962(d) violation

  of RICO by conspiring to violate 18 U.S.C. § 1962(c), but that these Defendant's

  - the Enterprise - were aware that their ongoing fraudulent acts have been and are

  part of an overall pattern of racketeering activity period.

105.     As a direct and proximate result of Defendants' - the Enterprise' - overt and

   predicate acts in furtherance of violating 18 U.S.C. § 1962(d)-violation of RICO

  by conspiring to violate 18 U.S.C. § 1962(c)- Plaintiff has been and continues to

  be injured in his business and property as set forth in detail herein; pursuant to 18

  U.S.C. § 1964(c) of RICO, Plaintiff is entitled therefore to bring this action to
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    protect his interest.

 106.      Defendants have sought to, and have, engaged in the commission, and

   continue to commit, overt acts and unlawful racketeering predicate acts that

   generate income, sequester property or proceeds received by Defendants, to the

   exclusion of Plaintiff, from such pattern of racketeering activity, including

   multiple instances of mail and wire fraud violations of 18 U.S.C. §§sections 1341

   and 1343.

107.       Defendants' violations of the above federal laws, and the effects therof

   detailed above. are continuing and will continue unless injunctive relief for

   prohibiting the Defendants' illegal acts constituting a pattern of racketeering

   activity is fashioned and imposed by the court.

108.       As a proximate result of Defendants' conduct as described above, Plaintiff

   has been injured in his business and property.

   WHEREFORE, Plaintiff, William Deckard, Sr., respectfully requests judgment

   in his favor and against Defendants Steven Emory and the Estate of Kathleen

   Emory in the amount of not less than $50,000, including interest, delay damages,

   counsel fees and other costs this court deems appropriate.

         ALLEGATIONS AGAINST DEFENDANT CITIZENS BANK

COUNT III - VIOLATIONS OF DEFENDANT CITIZENS BANK FIUCUARY
              DUTY OF EXERCISING ORDINARY CARE


109.      Paragraph's 1 - 105 are hereby incorporated by reference as if fully set forth
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   at length herein.

110.      Defendant Citizens Bank has an obligation to exercise a duty of ordinary

   care when opening and overseeing administration of client accounts.

111.     Though Defendant Citizens Bank was repeatedly warned by Plaintiff that

   Defendants Emory, from 2013, were unlawfully using Decedent Gloria Deckard's

   EIN for the business Beer Hut in administering the banking account for the Estate

   of Gloria DeckarQ, and that Defendants Emory were violating a standing 2013

   Pennsylvania Orphan's Court Judge's Order to account for all funds involving the

   business Beer Hut, Plaintiff asserts Defendant Citizens Bfil!k, inter alia, took no

   steps to learn whether the Estate of Gloria Deckard account, opened 12-29-2012

   by Defendant Kathleen Emory and operated through 201 7, was done pursuant to

   U.S. Code of Federal Regulation(s).

112.     Defendant Citizens Bank did take affirmative steps to freeze Plaintiff's The

   Beer Hut Citizen Bank accounts (said accounts opened 12-10 and 12-13 of2012

   pursuant to directive to Plaintiff from Citizens Bank's local Manager, Lisa Talley)

   and subsequently authorized Defendant Kathleen Emory to cease all of Plaintiffs

   funds in said accounts, said funds never to be accounted or returned to Plaintiff.

113.     Defendant Citizens Bank failure to exercise an ordinary duty of care, to

   heed Plaintiffs many warnings regarding Defendants Emory, enabled Emorys to

   covertly and unlawfully convert significant Beer Hut assets, and all The Beer Hut

   assets, in Citizens Bank to the permanent possession of Defendants Emory -
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    assets to which Defendants Emory were and are not entitled, and, said assets have

    never been accounted.

    WHEREFORE, Plaintiff, William Deckard, Sr., respectfully requests judgment

    in his favor and against Defendant Citizens Bank in the amount of not less than

    $50,000, including interest, delay damages, counsel fees and other costs this court

    deems appropriate.

            ALLEGATIONS AGAINST DEFENDANT WORLDPAY

COUNT IV - VIOLATIONS OF DEFENDANT WORLDPAY FIUCUARY DUTY
                OF EXERCISING ORDINARY CARE

 114.     Paragraph's 1 - 109 are hereby incorporated by reference as if fully set forth

    at length herein.

 115.     Defendant Worldpay has an obligation to exercise a duty of ordinary care

    when opening client accounts, inter alia.

 116.     Ignoring Plaintiffs numerous telephone and email warnings through

    Spring/Summer, 2013 that Defendants Emory were unlawfully using a Decedent

    Gloria Deckards' Beer Hut EIN in the administration of the banking accounts for

    the Estate of Gloria Deckard and Beer Hut, and that Defendants Emory were

    violating a standing 2013 Pennsylvania Orphan's Court Judge's Order to account

    for all funds involving the business Beer Hut, Plaintiff asserts Defendant

    Worldpay, inter alia, either transacted with Defendants Emory knowing Emorys'

    Beer Hut Worldpay and Beer Hut accounts were unlawfully using decedent Gloria

   Deckard's EIN, and not an Estate EIN created pursuant to Regulation(s), or
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      Emory's and Worldpay were using EIN of Plaintiff, William Deckard, Sr., without

      Plaintiffs knowledge.

   117.        Defendant Worldpay's failure to exercise an ordinary duty of care, to heed

      Plaintiffs many warnings regarding Defendants Emory, enabled Emorys to

      covertly and unlawfully convert significant Beer Hut assets to permanent

      possession of Defendants Emory - assets to which Defendants Emory were and

      are not entitled.

      WHEREFORE, Plaintiff, William Deckard, Sr., respectfully requests judgment

in his favor and against Defendant Citizens Bank in the amount of not less than $50,000,

including interest, delay damages, counsel fees and other costs this court deems

appropriate.

          ALLEGATIONS AGAINST DEFENDANTS PENN NATIONAL,
           MICHAEL DANELLO, ACLAIM AND GEORGE PAGANO

 COUNT V - VIOLATIONS OF DEFENDANTS PENN NATIONAL, MICHAEL
   DANELLO, ACLAIM AND GEORGE PAGANO FIUCUARY DUTY OF
                  EXERCISING ORDINARY CARE


   118.        Paragraph's 1 - 117 are hereby incorporated by reference as if fully set forth

      at length herein.

   119.        Plaintiff asserts that Defendants Penn National, Michael Danello, Aclaim

      and George Pagano, each had actual knowledge in 2014 of death of Gloria

      Deckard on December 15 of2012, and that each also knew it was more likely

      than not that Defendants Emory were, with premeditation, attempting to defraud
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   the real property's co-owner, Plaintiff, of Plainti:ff s 50% share of proceeds from

   any settlement of the 2011 tornado damage insurance claim for damages done to

   the 9911 Northeast Avenue property, said insurance claim for property damage

   having been filed with Penn National in 2011.

120.       By 2016, Plaintiff had learned to a near certainty that said tornado damage

   insurance claim was - unlawfully - "settled" among, at a minimum, Defendants

   Kathleen and Steven Emory and Defendants Penn National, Michael Danello,

  Aclaim and George Pagano; said unlawful "settlement" involving only one of the

  co-owners of the real property known as 9911 Northeast Avenue, Philadelphia, PA

   19115, that said co-owner being Defendant Kathleen Emory.

121.       Plaintiff believes, and here avers, that substantial correspondence occurred

  regarding said settlement, said correspondence involving Defendants Kathleen

  and Steven Emory and Defendants Penn National, Michael Danello, Aclaim and

  George Pagano.

122.       Plaintiff believes and here avers that all recorded communications involving

  said "settlement", e.g., letters, faxes, email, texts and phone calls, that each of

  these "communication" constitutes a separate violation of 18 U.S.C. §§ 1341 and

   1343.

  WHEREFORE, Plaintiff, William Deckard, Sr., respectfully requests judgment

  in his favor and against each Defendant Penn National, Michael Danello, Aclaim

  and George Pagano, jointly and severally, in the amount of not less than $50,000,
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   including interest, delay damages, counsel fees and other costs this court deems

  appropriate.

 ALLEGATIONS AGAINST DEFENDANT DREW SALAMAN, ESQUIRE

COUNT VI - VIOLATIONS OF DEFENDANT DREW SALAMAN, ESQUIRE
  FIUCUARY DUTY OF EXERCISING ORDINARY CARE AND LEGAL
                       MALPRACTICE

123.     Paragraph's 1 - 122 are hereby incorporated by reference as if fully set forth

  at length herein.

124.     On July 18, 2013, Defendant Drew Salaman, Esquire was appointed Special

  Master in In re: Estate of Gloria Deckard (180 DE of2013) by the Orphan's

  Court of Philadelphia- the Court's Decree reads, in pertinent part, " ... (1) The

  Special Master (is) to oversee the operation of the Estate business entity The Beer

  Hut with full authority to open the business oversee operations implement

  standard operating procedures and to report to the court concerning the efficacy of

  continued operation of the business. (2) The special master shall be given

  unfettered access and control to all keys, books and records, facilities and

  employees. Special Master shall be compensated from the Estate, upon order for

  compensation, entered by this Court... (5) The Special Master shall consider that

  the goal of the Estate is to maximize the value of the business for sale. (6) The

  Special Master shall report to the Court concerning progress in normalizing the

  operation of this business and its prospects for sale within 30 days of the date of

  this decree. The Special Master is at liberty to report emergency situations to the
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      Court and, upon cause, may close the business, terminate employment of any

     employee or bar any person from the premises ... "

   125.      Inter alia, Defendant Salaman failed to report to the Court Defendants

     Emory theft of Beer Hut beer when the Court had ordered the business to be shut

     and nothing removed in July, 2013.

  126.       Additionally, however, Defendant Salaman failed his fiduciary duty to the

     Estate of Gloria Deckard by failing to monitor Defendants Emory's wasting of

     Beer Huts's assets through inattention, failure to maintain inventory (failure to

     purchase inventory), failure to maintain business hours, negligence and outright

     embezzlement (Exhibit A-4 (Deckard Banks Accts Analysis on DVD)); laying

     groundwork for near total, if not total, depletion of assets of Plaintiffs.

     WHEREFORE, Plaintiff, William Deckard, Sr., respectfully requests judgment

     in his favor and against Defendant Drew Salaman, Esquire, in the amount of not

     less than $50,000, including interest, delay damages, counsel fees and other costs

     this court deems appropriate.

                                             Respectfully submitted,

                                             IS/ PETER BLUST. ESQUIRE
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DATE: 12-31-2018
